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               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF GEORGIA
                        SAVANNAH DIVISION

ALTAMAHA RIVERKEEPER, ONE
HUNDRED MILES, and CENTER
FOR A SUSTAINABLE COAST, INC.,
      Plaintiffs,

v.

THE UNITED STATES ARMY                               CIVIL ACTION NO.
CORPS OF ENGINEERS; Lieutenant                     4:18-cv-00251-JRH-JEG
General TODD T. SEMONITE, in his
official capacity as Commanding
General of the U.S. Army Corps of
Engineers; Colonel DANIEL HIBNER
in his official capacity as District
Commander of the Savannah District;
and TUNIS McELWAIN, in his official
capacity as Chief of the Regulatory
Branch of the U.S. Army Corps of
Engineers,
      Defendants,
and
SEA ISLAND ACQUISITION, LLC,
      Intervenor Defendant.


         ANSWER OF SEA ISLAND ACQUISITION, LLC
TO THE COMPLAINT OF CENTER FOR A SUSTAINABLE COAST, INC.

      Intervenor-Defendant Sea Island Acquisition, LLC (“Sea Island”) responds

to the allegations contained in the Complaint for Declaratory and Injunctive Relief

(“Complaint”) filed by Center for a Sustainable Coast, Inc. (“Plaintiff” or
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“Center”) on November 2, 2018. The Complaint was originally filed in Case No.

CV 418-254. On December 14, 2018, the Court consolidated Case No. CV 418-

254 into Case No. CV 418-251, using Case No. CV 418-251 for the consolidated

action. [See Doc. 13 in Case CV 418-254.]

      Sea Island responds to the allegations contained in the corresponding

numbered paragraphs of Plaintiff’s Complaint as follows:

        RESPONSE TO ALL ALLEGATIONS OF THE COMPLAINT

      Sea Island denies each and every allegation of the Complaint not otherwise

admitted, denied, or neither admitted nor denied for lack of knowledge or

information sufficient to form a belief as to the truth of the allegations. To the

extent that the headings in the Complaint contain factual allegations that require a

response, the headings are denied.

      1.     Insofar as Paragraph 1 purports to characterize Plaintiff’s action, no

response to such assertions is required; however, Sea Island denies that Plaintiff is

entitled to any relief whatsoever. Sea Island admits that the U.S. Army Corps of

Engineers issued a § 404 permit to Sea Island which, among other things,

authorizes work on the Sea Island beach and dunes. Sea Island admits that the

permit, among other things, authorizes the construction of a new T-head groin in

front of The Reserve development at Sea Island, the dredging of between

1,315,000 to 2,500,000 cubic yards of sand from an offshore location, and the



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placement of sand along more than 17,000 linear feet of beach on Sea Island.

Sea Island admits that a copy of Individual Permit No. SAS-2015-00742

(September 12, 2018) is attached to the Complaint as an exhibit. Sea Island denies

that the majority of the sand will be used on the 1,200 linear feet of beach adjacent

to The Reserve and denies the remaining allegations in Paragraph 1.

       2.     Denied.

       3.     Paragraph 3 purports to characterize Plaintiff’s pleading and requested

relief, and no response to such assertions is required. Sea Island denies that

Plaintiff is entitled to any of the relief requested.

                           JURISDICTION AND VENUE

       4.     Paragraph 4 purports to characterize Plaintiff’s pleading, and no

response to such assertions is required. Sea Island denies that Plaintiff has stated a

viable claim under any of the provisions cited.

       5-6. Denied.

       7.     To the extent Plaintiff raises any legally cognizable claims, which Sea

Island denies, venue is proper in this Court.

                                       PARTIES

       8.     Sea Island admits that the defendant U.S. Army Corps of Engineers is

an agency within the United States Department of Defense and that there is a

Savannah District of the Corps of Engineers. The remaining allegations of the first



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sentence of Paragraph 8 constitute conclusions of law to which no response is

required. Sea Island further admits that the Corps is headquartered in Washington,

D.C., and has a District Office in Savannah, Georgia. Sea Island denies the

remaining allegations in Paragraph 8.

      9.     Sea Island admits that Lieutenant General Todd Semonite is the

current Commanding General of the U.S. Army Corps of Engineers. The

remaining allegations in Paragraph 9 either constitute conclusions of law or purport

to characterize Plaintiff’s pleadings, and so no further response is required.

      10.    Sea Island admits that Colonel Daniel Hibner is the District

Commander in charge of the U.S. Army Corps of Engineers in Savannah, Georgia.

The remaining allegations in Paragraph 10 constitute conclusions of law to which

no response is required.

      11.    Sea Island admits that Tunis McElwain is the chief of the Regulatory

Branch of the U.S. Army Corps of Engineers. The remaining allegations in

Paragraph 11 either constitute conclusions of law or purport to characterize

Plaintiff’s pleadings, and so no further response is required.

      12-17. Sea Island lacks sufficient information to form an opinion as to the

truth of the allegations in Paragraphs 12-17 and so denies the same.

      18-19. Denied.




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            STATUTORY AND REGULATORY BACKGROUND

                               The Clean Water Act

      20-28. Paragraphs 20 through 28 consist of conclusions of law to which no

response is required.

                         National Environmental Policy Act

      29-34. Paragraphs 29 through 34 consist of conclusions of law to which no

response is required.

                THE ADMINISTRATIVE PROCEDURES ACT

      35-37. Paragraphs 35 through 37 consist of conclusions of law to which no

response is required.

              FACTUAL BACKGROUND AND ALLEGATIONS

      38.    Admitted.

      39.    Sea Island admits that the southernmost portion of Sea Island has

sometimes been referred to as the Spit and that the southernmost portion of Sea

Island has not been developed and provides habitat for some state and federally

protected turtles and shorebirds. Sea Island further admits that some residents and

tourists use the southernmost portion of as a recreation area. All other allegations

in Paragraph 39 are denied.




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      40.     Sea Island admits that the southernmost portion of Sea Island, like all

beaches and barrier islands, is important to the sand-sharing system that includes

the beaches and shoreline of St. Simons, including the East Beach area. All other

allegations in Paragraph 40 are denied.

      41.     Sea Island admits that it is a private resort and real estate development

company that seeks to sell for profit the valuable land at The Reserve at Sea Island,

consisting of eight developed lots. Sea Island admits that no lots have been sold

and no homes have yet been constructed. Sea Island further avers that in 2015 it

conveyed to the St. Simons Land Trust a Conservation Easement to protect the

southernmost portion of the Island from further development. Sea Island admits

that The Reserve is just north of the conservation easement boundary. Sea Island

denies the remaining allegations in paragraph 41.

      42.     Denied.

      43.     Sea Island admits that the island currently has two groins that were

built in the early 1990s, that one is located at the northern end of the island, and the

other at the northern edge of The Reserve. All other allegations of Paragraph 43

are denied.

      44.     Sea Island admits that a purpose of a groin is to hold sand on the

updrift side of the groin. All remaining allegations of Paragraph 44 are denied.




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      45.     The Corps’ Coastal Engineering Manual is a lengthy and technical

document that speaks for itself. Sea Island denies that the quoted language, which

has been taken out of context, is applicable to this project, and therefore denies the

allegations of Paragraph 45. Sea Island further avers that the Corps’ Coastal

Engineering Manual explains that “[m]odern coastal engineering practice is to

combine beach nourishment with groin construction to permit sand to immediately

begin to bypass the groin field.” Coastal Engineering Manual at V-3-59-61.

      46.     Sea Island is without sufficient information to form an opinion as to

the truth of the allegations of Paragraph 46 and so denies the same.

      47.     Denied.

      48.     Sea Island admits that the proposed groin on Sea Island will be closer

to St. Simons than the existing south groin. All other allegations of Paragraph 48

are denied.

      49.     The first sentence of Paragraph 49 is denied. Sea Island avers that the

statement of the United States Fish & Wildlife Service (“USFWS”) quoted in

Paragraph 49 was not made in regard to the amended project that was permitted by

the Corps. All other allegations of Paragraph 49 are denied.

      50.     The October 9, 2015 permit application is in the Administrative

Record to be compiled by the Corps, and the document speaks for itself. Sea Island

admits that the lengthy application included a request for authorization to construct



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a T-head groin of approximately 120 feet in crest length, to construct dunes, to

nourish approximately 1,200 linear feet of beach between the existing south groin

and the proposed new groin, and to remove approximately 120,000 cubic yards of

sand from the northern side of the existing south groin and to place it at the project

area. All remaining allegations of Paragraph 50 are denied.

      51.    The October 9, 2015 permit application is in the Administrative

Record to be compiled by the Corps, and the document speaks for itself.

      52.    Admitted.

      53.    The first sentence of Paragraph 53 is admitted. The referenced

comments are in the Administrative Record and speak for themselves. To the

extent a response is required, the remaining allegations of Paragraph 53 are denied.

      54-56. Denied as stated. Sea Island avers that the comments were not

addressed to the amended application that was permitted by the Corps.

      57.    Sea Island admits that on March 6, 2018, it submitted a Supplemental

Project Description, adding offshore dredging of between 1,315,000 and 2,500,000

cubic yards of sand and placement of beach nourishment sand along up to 17,000

linear feet of shoreline, in addition to the original request to construct a new groin.

Sea Island denies the remaining allegations of Paragraph 57.

      58.    Admitted. The Supplemental Project Description is in the

Administrative Record and speaks for itself.



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      59.    Sea Island admits that the Corps published notice related to the

Supplemental Project Description on March 20, 2018. All other allegations in

Paragraph 59 are denied.

      60.    Denied.

      61.    Admitted. Sea Island further avers that neither the Plaintiff nor any

other responder submitted any comment opposing the offshore dredging with

cutterhead dredge or the nourishment of the beach.

      62.    Sea Island admits that the Plaintiff filed comments regarding the

March 2018 Supplemental Project Description; Sea Island denies that Plaintiff

commented on the direct, indirect, or cumulative impacts of the offshore dredging

or beach nourishment aspects of the proposed project, and further denies any

remaining allegations of Paragraph 62.

      63.    Admitted.

      64.    Denied.

      65.    Admitted.

      66.    Admitted. The Corps decision document is in the administrative

record and speaks for itself.

      67.    Denied.

      68.    Denied.




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      69.    Sea Island admits that the Corps found that the authorized project

would have no significant impact to the environment. The remaining allegations in

Paragraph 69 are denied.

      70.    Denied.

                              CLAIMS FOR RELIEF

                                       I. NEPA

      71.    Sea Island incorporates by reference its responses to the allegations

contained in the preceding paragraphs.

      72.    Denied.

      73-75. Paragraphs 73 through 75 consist of conclusions of law to which no

response is required.

      76.    Denied. Sea Island further avers that over the past three years, the

project was reviewed and approved by the Georgia Shore Protection Committee,

an Administrative Law Judge with the Georgia Office of State Administrative

Hearings, and the Superior Court of Fulton County for the State of Georgia; further

appeals were abandoned by a similarly-situated environmental advocacy group that

has an established relationship to Plaintiff in this matter.

      77-79. Denied.




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                                      II. CWA

      80.    Sea Island incorporates by reference its responses to the allegations

contained in the preceding paragraphs.

      81-83. Paragraphs 81 through 83 consist of conclusions of law to which no

response is required.

      84.    Denied.

      85.    The second sentence of Paragraph 85 is a conclusion of law to which

no response is required. Sea Island denies that Plaintiff has stated a viable claim

under any of the provisions cited. The remaining allegations in Paragraph 85 are

denied.

      86.    The second sentence of Paragraph 86 is a conclusion of law for which

no response is required. The remaining allegations of Paragraph 86 are denied.

      87.    Denied.

      88.    The second, third, fourth, fifth, and sixth sentences of Paragraph 88

are conclusions of law for which no response is required. The remainder of

Paragraph 88 is denied.

      89-90. Denied.

                             PRAYER FOR RELIEF

      Sea Island denies Plaintiff is entitled to any of its Prayers for Relief.




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                             AFFIRMATIVE DEFENSES

                              First Affirmative Defense

      The Complaint should be dismissed for failure to state a claim upon which

relief can be granted.

                             Second Affirmative Defense

      The Complaint should be dismissed because Plaintiff lacks standing to raise

some or all of its claims.

                              Third Affirmative Defense

      Plaintiff has failed to exhaust its administrative remedies on issues not

presented to the Corps of Engineers during the public notice and comment process.

                             Fourth Affirmative Defense

      The Complaint should be dismissed because the Permit was issued in

compliance with all applicable substantive and procedural requirements.

      WHEREFORE, Sea Island denies that Plaintiff is entitled to any relief

whatsoever and prays for judgment as follows:

      A.     Dismissing Plaintiff’s Complaint for Declaratory and Injunctive

             Relief with prejudice;

      B.     Awarding Sea Island its costs for defending this action, including

             reasonable attorneys’ fees; and

      C.     Such other and further relief that this Court deems just and proper.



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 Respectfully submitted, this 21st day of December, 2018.


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    Attorneys for Intervenor Defendant Sea Island Acquisition, LLC




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                SAVANNAH DIVISION

ALTAMAHA RIVERKEEPER, ONE
HUNDRED MILES, and CENTER FOR
A SUSTAINABLE COAST, INC.,
        Plaintiffs,
 v.                                                            CIVIL ACTION NO.
                                                             4:18-cv-00251-JRH-JEG
THE UNITED STATES ARMY CORPS OF
ENGINEERS; Lieutenant General TODD T.
SEMONITE, in his official capacity as
Commanding General of the U.S. Army Corps
of Engineers; Colonel DANIEL HIBNER, in
his official capacity as District Commander of
the Savannah District; and TUNIS
McELWAIN, in his official capacity as Chief
of the Regulatory Branch of the U.S. Army
Corps of Engineers,
        Defendants,
 and
SEA ISLAND ACQUISITION, LLC,
        Intervenor Defendant.


                                CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing Answer of Sea Island Acquisition,
LLC to the Complaint of Center for a Sustainable Coast, Inc. with the Clerk of Court for the
United States District Court for the Southern District of Georgia by using the CM/ECF system,
which will send a notification of such filing to the following attorneys of record:
  William W. Sapp, Esq.                          Martha C. Mann, Esq.
  Megan Hinkle Huynh, Esq.                       Dedra S. Curteman, Esq.
  Bob Sherrier, Esq.                             Bradford C. Patrick, Esq.
  Southern Environmental Law Center              United States Department of Justice
  Attorneys for Plaintiffs Altamaha              Attorneys for Federal Defendants
  Riverkeeper and One Hundred Miles

  Kimberly A. Sturm, Esq.
  Weissman, PC
  Attorney for Plaintiff Center for a
  Sustainable Coast, Inc.
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      This 21st day of December, 2018.

                                         HALL BOOTH SMITH, P.C.

                                          /s/ James B. Durham, Esq.
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